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                                                  Characterizing web pornography consumption
                                                          from passive measurements

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                                                                                                      ⋆
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                                                      Abstract. Web pornography represents a large fraction of the Internet
                                                      traffic, with thousands of websites and millions of users. Studying web
                                                      pornography consumption allows understanding human behaviors and it
                                                      is crucial for medical and psychological research. However, given the lack
                                                      of public data, these works typically build on surveys, limited by differ-
                                                      ent factors, e.g., unreliable answers that volunteers may (involuntarily)
                                                      provide.
                                                      In this work, we collect anonymized accesses to pornography websites us-
                                                      ing HTTP-level passive traces. Our dataset includes about 15 000 broad-
                                                      band subscribers over a period of 3 years. We use it to provide quantita-
                                                      tive information about the interactions of users with pornographic web-
                                                      sites, focusing on time and frequency of use, habits, and trends. We dis-
                                                      tribute our anonymized dataset to the community to ease reproducibility
                                                      and allow further studies.

                                                      Keywords: Passive Measurements; Web Pornography; Adult Content;
                                                      User Behaviour; Network Monitoring.


                                              1     Introduction

                                              Pornography and technology have enjoyed a close relationship in the last decades,
                                              with technology hugely increasing the capabilities of the porn industry. From the
                                              limited market reachable through public theatres, the introduction of the video-
                                              cassette recorder in the 1970s abruptly changed the way of accessing pornog-
                                              raphy, allowing to access pornography in the privacy and comfort of each indi-
                                              vidual home. Then, the birth of cable networks and specialty channels in the
                                              1990s, allowed a further step towards accessibility and privacy, giving the possi-
                                              bility to retrieve content directly from home. Finally, the Internet revolutionized
                                              again the market, guaranteeing direct desktop delivery to every individual with
                                              a connection, interactivity through forums and webcams, free content and, at
                                              the same time, anonymity. In 2017, the most used pornographic platform in the
                                              world (Pornhub, according to Alexa ranking)1 , claims 80 million daily accesses
                                              ⋆
                                                  The research leading to these results has been funded by the Vienna Science and
                                                  Technology Fund (WWTF) through project ICT15-129 (BigDAMA) and the Smart-
                                                  Data@PoliTO center for Big Data technologies.
                                              1
                                                  As of October 17th , 2018 www.alexa.com/topsites
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     to its website.2 The importance of Internet pornography as a prevalent compo-
     nent of popular culture and the need of its study has been recognized for a long
     time [6].
         In this work we do not attempt to classify Internet pornography. Rather, we
     refer to the term web pornography (WP) to any online material that, directly or
     indirectly, seeks to bring about sexual stimulation [4]. Therefore, the term porno-
     graphic website is here used to describe services that provide actual pornographic
     videos, sell sex related merchandise, help in arranging sexual encounters, etc. We
     refer only to adult pornography websites and we do not advocate the inclusion
     of child pornography websites in our research, thus this paper has no application
     whatsoever to child pornography. The word pornography, in the context of this
     article, refers exclusively to legal content in the territories of EU and USA.
         Through the years, WP has been the subject of many studies, that aimed
     at describing how people make use of it, or pinpointing eventual pathological
     situation correlated to an excessive use. However, such works typically come
     from the medical and psychology communities, and are based on surveys that
     cover a very small number of volunteers. Moreover, previous studies [12,10] report
     that people tend to lie, either consciously or unconsciously, when answering to
     private-life concerning surveys, especially about sexuality; there are people who
     declare more accesses than real (e.g., to show to be uninhibited) and others who
     understate the actual consumption, fearing social blame. Both these behaviours,
     called social desirability biases, and egosyntonic/egodystonic feelings (i.e., being
     or not in accordance with their self-image) make surveys less reliable with respect
     to other sources of information.
         In contrast to previous works, in this study we investigate WP by means
     of passive network measurements, collected from about 15 000 broadband sub-
     scribers over a period of 3 years. MindGeek, a company operating many popular
     pornographic websites, switched to encryption only in April 2017, being the first
     big player of WP industry to adopt HTTPS.3 As such, the vast majority of
     WP portals used plain-text HTTP up to March 2017, allowing us to leverage
     HTTP-level measurements, and obtain detailed results of WP consumption. Us-
     ing recent advances in data science, we extract only user actions to WP portals
     from a deluge of HTTP data.
         The main contributions of this paper are:

         – We provide a thorough characterization of WP consumption leveraging mea-
           surements from 15 000 broadband subscribers over a period of 3 years.
         – We show how users moved to mobile devices through the years, even if the
           time spent onWP remains constant.
         – We show that typical WP sessions last less than 15 minutes, with users
           rarely accessing more than one website. Less than 10% of users consume
           WP more than 15 days in a month, and repeated use within a single day is
           very sporadic.
     2
         www.pornhub.com/insights/2017-year-in-review
     3
         www.washingtonpost.com/news/the-switch/wp/2017/03/30/porn-websites-beef-up-privacy-protections-days
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      – We release our dataset to the community in anonymized form for further
        investigation [1]. To the best of our knowledge, this is the only public datasets
        that includes WP accesses from regular Internet users.

         The employed metrics are taken from the surveys reported in medical litera-
     ture and from WP portal reports that we use throughout the paper. We restrict
     our analysis only to those that we were able to verify given our data. Our results
     enhance the visibility and understanding of those topics, and give a less medi-
     ated overview of users behaviors, mostly confirming what emerges from medical
     surveys.
         The remainder of the paper is organized as follows: Section 2 summarizes
     related work. Section 3 describes data collection, processing and privacy issues,
     while Section 4 presents the results. Finally, Section 5 concludes the paper.


     2    Related Work

     Most previous works that investigate the interaction between users and WP
     leverage the information contained in surveys proposed to groups of volunteers.
     Vaillancourt-Morel et al. [18] examine the potential presence of different profiles
     of pornography users and their relation with sexual satisfaction and sexual dys-
     function. The investigation is conducted over a poll that involved 830 adults,
     and they group users’ behavior in three clusters. Daspe et al. [5] investigate the
     relationship between frequency of WP consumption and the personal perception
     of this behavior, pointing out that often there are strong discrepancies. Another
     analysis of the phenomenon is provided by Grubbs et al. [9], where the analysis
     is conducted over two participants sets, divided in students and adults, show-
     ing that moral scruples can infect the self-impression over their consumption.
     Wetterneck et al. [14] propose a critical analysis of WP, showing the various
     limitations of the state of the art of studies that assessed online pornography
     usage, concerning its definition, consumption, and the variability of its measure-
     ments.
         Fewer works used network measurements to study WP. Tyson et al. [17]
     extract trends and characteristics in a major adult video portal (YouPorn) by
     analyzing almost 200k videos, together with meta-data such as page content,
     ratings and tags. In a similar direction, Mazieres et al. [11] produce and analyze
     a semantic network of WP categories, extracted from the portal xHamster, in
     order to find which are the most dominants and if they are actually meaningful.
     Ortiz et al. [13] study a Chilean websites containing human images and classify
     them in normal, porno and nude, with the objective of automatically discovering
     WP websites. Finally, Coletto et al. [3] study users’ activity in social networks
     related to WP, in order to extract information about the seclusion of those
     communities with respect to the rest of the population and their characteristics
     in terms of age and habits and gender. To the best of our knowledge, we are the
     first to use passive measurements to study the behavior of users accessing web
     pornography.
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     3     Measurements

     3.1   Data Collection

     In this work, we rely on network measurements coming from passive monitoring
     of a population of broadband subscribers over a period of 3 years (from March
     2014 to March 2017). We have instrumented a Point-of-Presence (PoP) of a
     European ISP, where ≈ 10 000 ADSL and ≈ 5 000 FTTH customers are aggre-
     gated. ADSL downlink capacity is 4–20 Mbit/s, with uplink limited to 1 Mb/s.
     FTTH users enjoy 100 Mb/s downlink, and 10 Mbit/s uplink. Each subscription
     refers to an installation, where users devices (PCs, smartphones, etc.) connect
     via WiFi or Ethernet through a home gateway. Important to our analysis, the
     ISP provides each customer a fixed IP address, allowing us to track her over
     time. Nevertheless, a small fraction of customers abandoned the ISP during the
     observation period, and few new ones joined. All ADSL customers are residential
     customers (i.e., households), while a small number of business customers exist
     among the FTTH customers.
          To gather measurements we use Tstat [15], a passive meter that collects
     rich per-flow summaries, with hundreds of statistics regarding TCP/UDP con-
     nections issued by clients. Beside, Tstat includes a DPI module that creates log
     files containing details about observed HTTP transactions. For each transaction,
     it records the URL, a client identifier as well as other HTTP headers of requests
     and responses. Our measurements are based on the inspection of HTTP head-
     ers, and, as such, neglect all encrypted traffic. However, no big WP portal used
     encryption at the time our dataset was collected. Generated log files are copied
     to our back-end servers with a daily frequency. Data is stored on a medium-sized
     Hadoop cluster to allow scalable processing. All processing is done using Apache
     Spark and Python. The stored data covers 3 years of measurements, totaling
     20.5 TB of compressed and anonymized flow logs (around 138 billion records).


     3.2   Definition of user and its limitations

     Our PoP is located at the Broadband Remote Access Server (BRAS) level. Each
     subscription is identified by a unique and fixed IP address. However, subscrip-
     tions typically refer to households where potentially more than one person surf
     the Internet sharing the same public IP address. As such, relying on the client
     IP to identify a user would not be precise enough to study habits and behavior.
     Thus, in our work we define a user as the concatenation of the client IP address
     and the user-agent as extracted from the corresponding HTTP header. Note
     that with this definition a single person may appear multiple times with differ-
     ent identifiers if she uses multiple devices or her device incurs software updates
     that modify the user agent string. Analyses are thus performed on a per-browser
     fashion – i.e., each user-agent string observed in a household. Privacy require-
     ments limit any finer granularity.
         The evaluated dataset includes only a regional sample of households in a sin-
     gle country. Users in other regions may have diverse browsing habits. Equally,
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     mobile devices have been monitored only while connected to home WiFi net-
     works. As such, our quantification of browsing on mobile terminals is actually a
     lower-bound, since visits while connected on mobile networks are not captured.


     3.3    Data filtering and session definition

     Starting from a HTTP-level dataset, we need to filter only entries referring to
     WP websites. Studying innovative methodologies to automatically isolate traf-
     fic towards particular services is out of the scope of this work. We employ a
     blacklist based approach to perform classification. We build on public available
     lists, achieving robustness by combining three different sources.4 These three
     lists provide a set of domain names that offer different WP content (ranging
     from video streaming to thematic forums). To avoid false positives, we consider
     only those domain names contained in at least two over three lists. We come up
     with 310 252 unique entries, arranged over 460 top-level domains.
         After filtering entries referring to WP websites, we perform a further step to
     identify sessions of continuous activity. To this end, we group data by user, and
     process HTTP transactions by start time. We then identify session as follows:
     when a user accesses a pornographic website we open a new session and account
     to this all subsequent entries to WP websites. We terminate a session if we do not
     observe any entry to WP for a period of 30 minutes. While defining a browsing
     session is complicated [8], we simply consider a time larger than 30 minutes as
     an indication of the session end as it is often seen in previous works (e.g., [2]),
     and in applications like Google Analytics.5


     3.4    User actions extraction

     Subsequently, we further filter the dataset to isolate only those HTTP requests
     containing an explicit user action by the user. This step aims at isolating users’
     behavior discarding all HTTP traffic related to inner objects of webpages such
     as images, style-sheets, and scripts To this end, we implement the methodology
     described in our previous work [19] that builds a machine-learning model to
     pinpoint intentionally visited URLs (i.e., webpages) from raw HTTP traces.
     The followed strategy has as core module a supervised classifier, which is able to
     correctly recognize user actions in HTTP traces. It results to reach an accuracy
     of over 98%, and it can be successfully applied to different scenarios, including
     smartphone apps [20].
         In total, after the extraction, we have 58 million user actions/visited web-
     pages towards 59 989 different adult domains. We observe an average of 13 261
     different WP users per month. For each user, we determine information about
     used OS, browser, and if the device was a PC, a smartphone, or a tablet. These
     information are extracted from the user-agent of the original HTTP request at
     4
         www.shallalist.de/categories.html, www.similarweb.com, and
         dsi.ut-capitole.fr/blacklists/index_en.php
     5
         support.google.com/analytics/answer/2731565?
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     the time of the capture, using the Universal Device Detection library.6 We made
     these data available to the community in anonymized form to guarantee repro-
     ducibility of our results and further investigations [1]. In the remainder of the
     paper, we only take into account user actions, to which we simply refer with the
     term visited webpages.


     3.5    Privacy and ethical concerns

     Passive measurements potentially expose information which may threaten users
     privacy. As such, our data collection program has been approved by the partner
     ISP and by the ethical board of our University. Moreover, this specific data
     analysis project was also subject to a privacy impact assessment that was done
     with the data protection officer of our institution.
         We undertake several countermeasures to avoid recording any personally
     identifiable information. Before any storage, all client identifiers are anonymized
     using Crypto-PAn algorithm [7], and URLs are truncated to avoid recording
     URL-encoded parameters. Encryption keys are varied on a monthly basis, to
     avoid persistent users tracking. Sensitive information such as cookies and Post
     data are not monitored at all. Logs are stored in a secured data center in an en-
     crypted format. We emphasize again that in our research we only refer to adult
     pornography websites, obtained through open datasets, referring exclusively to
     legal content in the territories of EU and USA.


     4     Results

     In this section, we report the most significant results emerging from our dataset.
     We first focus on the time dimension, showing the evolution of WP consumption
     from 2014 to 2017 in terms of quantity and device type. We then focus on users,
     characterizing duration and frequency of their WP use. Finally, we provide some
     figures about the popularity of services.


     4.1    Usage trends

     Our first analysis aims at describing WP consumption trends from 2014 to 2017.
     In Fig. 1a, we focus on the time spent on WP by monitored users. The blue
     (solid), red (dash-dot) and green (dashed) curves report, respectively, the 25th ,
     50th and 75th percentiles of the total per-user daily time spent on WP, i.e., the
     sum of the duration of all the WP sessions. Curves are calculated only for active
     users, i.e., users visiting at least one WP website during one day. Curves are not
     continuous, for the lack of data due to outages in out PoP. The outcome shows a
     rather stable trend over the observation period, with half of the users spending
     less than 18 minutes per day on WP; however almost 25% of users reaches
     40 minutes of daily activity. These are day-wise statistics, and do not provide
     6
         github.com/piwik/device-detector
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                                             60




                      Daily time [minutes]
                                                                                 Perc. 25                                 Perc. 50                                Perc. 75
                                             40


                                             20


                                               0
                            3    7    1    3     7        1    3     7        1     3
                         /0   /0   /1   /0    /0       /1   /0    /0       /1    /0
                       14 2014 2014 2015 2015        15 2016 2016        16 2017
                    20                            20                  20

                (a) Per-user daily time spent on WP. 25th , 50th , and 75th per-
                centiles are shown.
                                             100

                                             80
                  Share [%]




                                             60

                                             40

                                             20
                                                                       Tablet                              PC                                Smartphone
                                               0
                                                   3              7              1              3              7              1              3              7              1              3
                                              /0             /0             /1             /0             /0             /1             /0             /0             /1             /0
                                    14                  14             14             15             15             15             16             16             16             17
                    20                             20             20             20             20             20             20             20             20             20

                                                       (b) Device category share for accessing WP.

                   Fig. 1: Usage trends from March 2014 to March 2017.




     figures about the repeated use of WP across multiple days by the same user, as
     we will see later. Measuring the overall share of users accessing WP portals is
     not easy using our data, as a single identifier – the client IP address – identifies a
     broadband subscription, potentially shared by multiple users. However, we notice
     that every day 12% of subscribers access WP websites, and this value is constant
     across years. A further analysis on WP pervasiveness is given in Sec. 4.2.
         Those results can be used as a comparison with surveys statistics, fortifying
     or confuting what the participants declare. Vaillancourt-Morel et al. [18] study
     the characteristics of WP consumers. The majority of the chosen sample uses
     WP for recreation only, on average 24 minutes per week, a value consistent but
     slightly higher compared to our data.
         Then, we investigate the evolution in device categories use (PCs, tablets
     and smartphones). We compute, for each device category, its share in terms of
     number of sessions. Fig. 1b shows the results. We notice that smartphones (blue
     surface), have largely increased their share from 27% to 42% at the expense of
     PCs. Tablets pervasiveness, reported in green, is instead rather constant. Not
     shown, the evolution of daily time spent with different devices did not changed
     too much throughout the years (see Sec. 4.2 for more details).
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               1.0                                                                    1.0
               0.8                                                                    0.8
               0.6                                                                    0.6
         CDF




                                                                                CDF
                                                       PC                                                  PC
               0.4                                                                    0.4
                                                       Smartphone                                          Smartphone
               0.2                                     Tablet                         0.2                  Tablet
               0.0                                                                    0.0
                     0    10   20   30       40   50       60   70   80   90                0   10   20   30    40      50


                 (a) Session duration [minutes].                                 (b) Accessed webpages per session [-].
               1.0                                                                    1.0
               0.8                                                                    0.8
               0.6                                                                    0.6
         CDF




                                                                                CDF
                                                       PC                                                  PC
               0.4                                                                    0.4
                                                       Smartphone                                          Smartphone
               0.2                                     Tablet                         0.2                  Tablet
               0.0                                                                    0.0
                     0         2         4             6         8        10                0   1    2    3      4      5


          (c) Accessed websites per session [-].                               (d) Sessions per day for an active user [-].

                     Fig. 2: CDF of WP session characteristics, divided by device type.



     4.2         Usage frequency, duration and habits
     For detailed analyses, we restrict to the last month of our dataset that does not
     include nor public holidays nor measurement outages, i.e., October 2016. We
     first characterize WP sessions in terms of duration. Fig. 2a shows the empirical
     cumulative distribution function (CDF) of session duration, expressed in min-
     utes. The duration is larger for PCs than for tablet and smartphones. While
     most of the sessions are rather short, i.e., less than 15 minutes for PCs and 10
     for smartphones, we observe sporadic longer sessions up to more than one hour.
     We now draw the attention on the number of webpages accessed during WP
     sessions, whose CDF is reported in Fig. 2b. Here the difference among devices
     is limited, with users accessing in median 5 or 6 webpages in a session, with
     28% of them limited to one or two. However, in some cases tens of webpages
     are accessed. Similarly, in Fig. 2c we report the distribution of the number of
     unique websites accessed during a WP session. Results show that smartphone
     users tend to focus on a single WP website at a time (78% of sessions), while
     PC users are more prone to visit more websites. For all the devices, very few
     sessions include visits to 4 or more different websites. Finally, Fig. 2d reports the
     number of daily sessions for an active user. The figure shows that users hardly
     make repeated use of WP within a day, without differences among devices.
         We next focus on the frequency of WP consumption by users over the month.
     In Fig. 3 we report the CDF of number of days of activity for WP users in the
     dataset. The figure indicates that the monthly frequency is generally low, with
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                          1.0
                          0.8
                          0.6


                    CDF
                          0.4
                          0.2
                          0.0
                                0   5   10        15         20   25    30
                                             Days of activity


          Fig. 3: Number of distinct days in which users consumed WP in a month.



     76% of the users visiting WP 5 or less days in a month. Still, there are some
     users with a reiterate usage, with 8% of them consuming WP more than 15 days.
     These results confirm what is found by Daspe et al. [5], who show that the 73%
     of the participants to a survey access pornography no more than once or twice
     per week, and only 11% more than 5 times per week. Given the nature of our
     dataset, we cannot estimate the number of users not consuming WP. Still, an
     analysis of per-subscription traffic to WP is provided later in this section.
         WP consumption also changes during different time of day. Fig. 4 provides the
     average percentage of sessions across the 24 hours of the day (red solid line). For
     ease of visualization, we start the x-axis from 4am, correspondent to the lowest
     value of the day. The two higher peaks are immediately after lunch time (2pm
     - 4pm) and after dinner (9pm - midnight). In addition to WP traffic, the figure
     also reports the overall trend considering all HTTP transactions, regardless their
     nature (dashed blue line). Comparing WP to total traffic, some differences are
     noticeable; the peaks do not overlap, and the latter is definitely more balanced
     over daylight hours. An hypothesis for those divergences may be related to the
     fact that accessing pornographic websites is likely to be a private and leisure
     activity confined to intimate moments. At a global scale, Pornhub service has
     found similar results.7 The average session time reported by Pornhub for Italy
     is 9 minutes and 30 seconds, similar to what observed from our analysis. We
     also provide a breakdown across both hours and days of the week, with Fig. 5
     showing the heat-map of the percentage variations from the gross weekly average
     (white color). Warmer tones register values below average, while colder ones
     show values above. Notice some clear diminishing traffic on Saturday evening
     (7pm - midnight) and some increasing traffic on Saturday, Sunday and Monday
     morning (9am - 1pm). Indeed, many commercial activities are closed on Monday
     morning in the monitored country, perhaps influencing this behavior. Again,
     Pornhub data shows comparable results, with their heatmap having peaks of
     traffic in more or less the same time frames (2pm - 5pm) and (10pm - midnight).

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          See footnote 2
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                     Hourly average of sessions [%]
                                                      8
                                                      7          WP sessions
                                                      6          Total traffic
                                                      5
                                                      4
                                                      3
                                                      2
                                                      1
                                                      0
                                                            5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 0 1 2 3 4
                                                                                       Hour


      Fig. 4: Average hourly percentage of number of WP sessions and total traffic.


              0
              1
              2                                                                                                             80
              3




                                                                                                                                  Deviation from average [%]
              4
              5
              6
              7                                                                                                             40
              8
              9
             10
      Hour




             11                                                                                                             0
             12
             13
             14
             15
             16                                                                                                             −40
             17
             18
             19
             20
             21                                                                                                             −80
             22
             23
                  Monday                                  Tuesday Wednesday Thursday    Friday   Saturday   Sunday
                                                                                 Day


     Fig. 5: Weekly breakdown of hourly WP usage. Heat-map of deviation from
     hourly average.



     Considering the cumulative daily accesses, Mondays register the highest values
     and Saturdays the lowest.
         Finally, we provide an overall picture about the fraction of all monitored
     subscribers accessing WP website. Although our dataset does not contain fine-
     grained details about WP pervasiveness, we can still show the fraction of sub-
     scriptions where at least one user accessed WP during our period of observa-
     tion. In Fig. 6, the x-axis represents the 31 days of our reference month (being
     day 1 October 1st , 2016 and day 31 October 31st , 2016), while y-axis reports
     the cumulative fraction of subscriptions that accessed at least one WP website.
     Considering a single day, less than 12% of subscriptions accessed WP, but this
     fraction raises to 27% after a week. At the end of the month it reaches 38%,
     meaning that more than one subscription over three generated traffic toward
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                              Subscribers accessing WP[%]
                                                            50
                                                            40
                                                            30
                                                            20
                                                            10
                                                            0
                                                                 01   7     14      21   28   31
                                                                              Day


     Fig. 6: Cumulative percentage of subscriptions accessing WP at different time in
     the trace.



                         35                                                                        70




                                                                                                        Cumul. visits [%]
                         30                                                                        60
                         25                                                                        50
             Users [%]




                         20                                                                        40
                         15                                                                        30
                         10                                                                        20
                          5                                                                        10
                          0                                                                        0
                             m om




                             o om




                              b m




                           uj com




                                     om
                     yo ster m




                     ca nia m
                              om m
                              m d




                              am d
                            do m
                    xh nx m




                             ub om




                     al om m
                   liv de om




                          ca itte




                          ec itte
                          tu co
                                     o




                          o r co
                                    co




                        m .co
                           x co




                                    co
                         as .c




                         up .c




                                  .c
                        am .c


                      re rn.c
                      xv b.c




                      dr 4.




                       yo lls.
                       ip er.
                                 e.
                                  .




                                 z.
                      ej o s



                                x
                               in




                              iz
                             hu




                         dt
                         rn

                           i




                       lif
             po




                  re




                                                                          Website


     Fig. 7: Top-15 WP websites ranked according to percentage of users accessing
     them. Cumulative percentages of their visits with respect to all WP visits are
     also shown.



     WP websites at least once in a month. For comparison, YouTube and Netflix
     are daily accessed by 45% and 3% of subscribers respectively. Considering social
     networks, 60% and 25% of subscribers contact Facebook and Instagram on a
     daily basis, respectively.8


     4.3      WP websites at a glance

     In this section, we briefly describe WP website popularity and pervasiveness.
     Similarly to the Internet global trend, the market is dominated by few big play-
     ers. Looking at the Alexa rank,9 three WP websites appear among the top-50,
      8
          A deeper analysis can be found in our previous work [16].
      9
          See footnote 1
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     namely pornhub.com, xvideos.com and livejasmin.com, with the first one
     ranked 29th, just behind linkedin.com. Considering our dataset, we observe
     a similar situation, with over-the-top companies leading the rank. In Fig. 7 we
     show the percentage of users reached by the top-15 WP websites using bars
     (left-most y-axis), and the cumulative percentage of visits to these services (red
     line, right-most y-axis). In total users accessed 7 048 different websites during the
     entire month. The top-3 websites in our dataset match exactly Alexa rank, with
     pornhub.com being accessed by 34% of the users. Global tendencies are reflected
     in our top-15, with only 2 omitted websites as local representative of the mon-
     itored country. Considering the percentage of visited webpages, pornhub.com
     alone accounts for 14% of them, and the top-15 together approximately 63%
     of all WP visits. The percentage reaches 90% considering the top-204 websites,
     confirming the concentration of users around top services. Interestingly, very
     similar numbers hold for the overall traffic (including also non-WP websites),
     with top-15 accounting for 61% of traffic and 90% due to 195 websites.
         Finally, we notice that 3 out of 15 WP websites of Fig. 7 belong to MindGeek,
     a company owning pornhub.com, redtube.com, youporn.com, and dozens of
     other websites.10 MindGeek websites account for more than 20% of accesses in
     our dataset, making it a market leader. For comparison, the second website in
     terms of users and visits is xvideos.com (owned by WGCZ Holding), with less
     than half the users of MindGeek services, according to our data, suggesting a
     scenario where the ecosystem is lead by few big players in a dominant position.


     5      Conclusion
     In this paper we offered a quantitative analysis concerning web pornography
     consumption. To the best of our knowledge, we are the first to use network
     passive measurements to study the interactions of users with these services.
     We followed an exploratory approach on data, focusing on questions, topics and
     metrics typically analyzed in previous surveys and research works, e.g., frequency
     of fruition and the time spent on WP. We found interesting results, some typical
     of the observed population and others capable of confirming global trends.
         Our results draw the attention to a large and active group of users, and
     may be helpful for researchers that study web services consumption and human
     behavior at large. The obtained outcomes can be checked and verified, thanks
     to the fact that we release our anonymized dataset. Furthermore, the chosen
     metrics allowed a comparison with outcomes of previously conducted surveys,
     and mostly confirmed their results.




     10
          https://goo.gl/UgLqAj
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